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                     EXHIBIT 5
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                IN THE UNITED STATES DISTRICT COURT

                     EASTERN DISTRICT OF MICHIGAN

                            SOUTHERN DIVISION




             TRUTEK CORP.,
                Plaintiff,
                                          CIVIL ACTION No. 2:21-cv-10312-
                       v.                 SJM-RSW
         BlueWillow Biologics, Inc.
        ROBIN ROE 1 through 10,
      gender neutral fictitious names,
       and ABC CORPORATION 1
       through 10 (fictitious names).
                Defendants.




     PLAINTIFF'S EXPERT REPORT OF EDWARD A. LEMMO, Ph.D.
        RESPONSIVE TO AND IN REBUTTAL OF DEFENDANT'S
         OPENING EXPERT REPORT OF MANSOOR M. AMIJI
Case 4:21-cv-10312-FKB-RSW ECF No. 76-5, PageID.3316 Filed 06/01/23 Page 3 of 20




      RESPONSIVE EXPERT REPORT OF EDWARD A. LEMMO, Ph.D.

                                       INTRODUCTION

              I have been engaged by Trutek Corp. as a technical expert in the legal

      matter      of   Trutek Corp. ('Trutek")        v.   BlueWillow Biologics, Inc.

      ("BlueWillow") currently being litigated in federal court in the Eastern

      District ofMichigan.

                By means of discovery, BlueW'illow submified an expert report by

      Mansoor M. Amiji, Ph.D. setting forth his opinions that claims       1,2,6, andT

      of Trutek's U.S. Patent No. 8,163,802 (*the '802 Patent") are invalid. I read

      and understood Dr. Amiji's report as well as the exhibits that he submiued

      with the report. Further, I am familiar with the teachings and claims of the

      '802 Patent.

                In light of Dr. Amiji's report, Trutek's lead counsel, Stanley H.
      Kremen, E.q., asked me to opine on four topics that are related to the      Amlji

      report:

         1. The level of skill required by a person having ordinary skill in the art

                ("PHOSITA") related to the claims of the'802 Patent.

         2.     The scientific and technical aspects of the "hold" function recited in

                Elements (b)   i" claims I   and 2 of the '802 Patent and why the "hold"

                function is critical to the patented invention.

         3. Enablemeat of the disclosure contained in U.S. Patent Application

                Publication No. 2004/0A71757 A1 by David Rolf.
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      RESPONSIVE EXPERT REPORT OF EDWARD A. LEMMO, Ph.D.

         4. Relevance    of the commercial success of             Trutek's products to

            nonobviousness of the claims of the'802 Patent.

            I am opining on each of the above four topics as a rebuttal to Dr.
      Amiji's report and the opinions expressed therein.

            Regarding my qualifications, I received my B.S. in chemistry lln1973,

      my M.S. in nutrition science in 1977, and my Ph.D. in nutrition science in

       1979. Beginning in 1984 and continuing until 2007,I was responsible for

      development, strategic planning, and marketing activities related to over-the-

      counter nutritional and supplemental products for major producers         in the

      field.   Since 2007,    I   have been an independent consumer healthcare

      corporate consultant.   I   have had extensive experience related to products

      somewhat similar   in   scope and application to products manufactured by

      Trutek based on the '802 Patent.     I   am very familiar with products of this

      type. My resume is attached to this report    as an   exhibit.

            My opinions regarding the four assigned topics follow.

      L.    A Person Saving Ordinary, SkiU In The Art

            A person having ordinary skill in the art ("PHOSITA") is essentially a

      fictitious individual considered to have a general or working knowledge of

      the subject matter in question. The operative word in this context is

      "ordinary." This is a person who does not possess special or distinctive

      knowledge or capability in a discipline. This person would have a basic skill
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      RESPONSIVE EXPERT REPORT OF EDWARD A. LEMMO, Ph.D,

      set or talent related to the technology related to the       art. In addition,   a


      PHOSITA knows of and understands all the prior art in his field of endeavor

      prior to the time that he is asked to evaluate the teachings of a patent. He

      must have sufficient experience           in his art so as to be competent to
      understand and interpret the prior art related to a patent so that he can make

      and use the invention described and claimed in the patent.        A PHOSITA is

      primarily a technician in his chosen field, and his skills are those ordinarily

      associated with such a technician. He is not an inventor. However, he is not

      a robot either. He must be able to understand and interpret the teachings

      associated with the type    of sfuctures and chemical compositions described

      in a document such as a patent. That document may possess directives for

      creating   a product including the step by step protocol for making              or

      assembling the product.          In   some instances, a PHOSITA may apply his

      fundamental skills in a procedure to follow instructions provided by a person

      possessing extraordinary    skill. That exfraordinarily skilled   person may be a

      person having an advanced degree in a specific discipline who can educate

      others in that specific skill.

             Having been a college professor for more than 30 years, I have taught

      numerous students on basic scientific concepts who were either majors in the

      discipline or students who were non-majors who wanted to gain a working

      general knowledge or      skill.      The students who majored in the discipline
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      RESPONSIVE EXPERT REPORT OF EDWARD A. LEMMO, Ph.D.

      would be expected to reach a level of exkaordinary      skill.   Those who were

      non-majors were not expected         to develop extraordinary skill but were
      expected to have a working knowledge of the subject matter. Hopefully, the

      example provided takes the imaginary        or fictitious persoo to a real life

      individual who has a working knowledge of a subject matter and can

      understand and interpret the subject matter.

              It is important to determine the level of skill of a person who would be

      considered a PHOSITA with regard to the '802 Patent.         It is essential that

      this person cannot be a person having extraordinary skill in the         art. A
      PHOSITA would not have the same knowledge or motivation to invent as           a


      person having exftaordinary skill.

              ln Paragraph 68 on Page 28 of his report, Dr. Amiji opined on the

      level of skill, experience, and education of a PHOSITA. He stated that such

      an individual should have "at least an M.S. degree in chemical engineering,

      phannaceutical sciences, or a related field (or the equivalenQ with several

      years   of   experience   with pharmaceutical fonnulation. Also, a person of

      ordinary skill in the art may have worked as part        of a multidisciplinary

      team- including     a chemical engineer, microbiologist or polymer    chemist-

      and drawn upon not only his or her own skills, but also taken advantage       of

      certain specialized skills     of others on the team, e.g., to solve a glven
      problem."
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      RESPONSIVE EXPERT REPORT OF EDWARD A, LEMIIilO, Ph.D.

              Having read and understood the teachings           of the '802 Patent, I
      concluded that Dr.   Amiji described a person of extraordinary skill in the art

      and technology of that patent. The level of skill possessed by a PHOSITA is

      that of a chemical or pharmaceutical formulator. This person would have

      fwo related but separate qualifications. First, after reading the '802 Patent,

      he should be able to create the formulations described in the patent, and then

      be able to use the formulations as prescribed. Second the PHOSITA must

      be positioned in time just prior to effective frling date of the '802 Patent.

      Based on this second requirement, the PHOSITA could not have read the

      '802 Patent   itself.   Based on his knowledge and experience, this person

      would be familiar with all the ingredients listed in the ten formulations

      shown    in the '802 Patent. He would have the skill and experience to

      duplicate those formulations once having seen their list of ingredients. He

      must know enough chemisfiy and biology to be familiar with cationic agents

      and biocidic agents. He must have knowledge              of the various   airborne

      "harmful particles," such   as   bacteria, viruses, pollen, and other allergens. He

      must know enough undergraduate physics to understand electrostatic fields

      as   well as the principles of eleckostatic attraction and repulsion, adhesion,

      and cohesion. To that end, he needs to know               of   ingredients that are

      surfactants, thickeners, and binders.



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          Based on my knowledge and experience,         it is my opinion   that this

    PHOSITA need not possess an advanced degree. Further, he does not even

    need to possess an undergraduate degree. He must be a technician with

    several yeirs   of   experience as a formulator. The key requirement      is his

    acquired experience necessary to create a wide variety of fornulations from

    the class of ingredients disclosed in the'802 Patent.

    2.    The I'Hold'r Functiqn Described and Claimed in the f802 Satent

          The 802 patent expresses the term 'ohold" in the claim statements

    related to the multi-action mechanism of the invention. While the product

    atkacts particulate matter from the airflow before entering the nasal

    passageway utilizing electrostatic forces, this alone is insufficient to protect

    the individual from harrnful particulate matter entering the body's respiratory

    system. Holding is a protective concept based on adhesive and cohesive

    properties. Adhesion of the formulation can be viewed in trvo ways: first

    adhesion to the skia of the individual applying the formulation in and around

    the nasal passageway; and second, adhesion of the particles in the airflow to

    the formulation itself. Cohesion provides a tackiness that incoryorates the

    concept   of adhesion. Adhesion     concerns the forces bonding dissimilar

    molecules together. Cohesion concerns the forces bonding similar

    molecules together. Adhesion coasiders particles of opposite charge, and

    cohesion goes beyond this concept to include particles of like charge. This
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      sets up a barrier   of imperrneability trapping a significant number of these

      particles outside the nasal pilssageway.   If   the formulation is applied to the

      skin or tissue inside a person's nostrils, the holding function prevents these

      particles from either being inhaled into the respiratory system             or from

      contacting the skin or tissue directly. Therefore, holding is a critical aspect

      of the patent claims since the power of the electrostatic forces to atfract

      airborne particles must be enhanced using the principles           of   adhesion and

      cohesion. This interaction of the formulation with foreign particles found in

      the air, by electrostatically attracting and capturing them and then holding

      them in place, sets up the opportunity for the formulation's ingredients to

      inactivate them prior to enty into the respiratory system. The forrnulation

      contains a cationic agent    to attract bioactive particles such as bacteria,

      viruses and other biologically hamful particulates found in the          air. It   also

      contains a biocidic agent that acts    to destroy or neutralae tbe captured

      bioactive particles.

            Essentially, the mechanism      of the forrnulation to carry out the
      protection it claims to afford the user would be incomplete if the formulation

      did not have the adhesive ahd cohesive properties required to hold the

      particles   in place. Attraction by electrostatic    forees   is   enhanced   by   the

      holding properties of adhesion and cohesion, and the holding properties set


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       up the formulation's biocidic ingredients to inactivate and kill bioactive

       particles that are held in place by the formulation.

             Most harmful airborne particles have a negative electrostatic charge.

       The formulation is applied to the skin or tissue of the nasal cavities as a thin

       filrn. The presence of a cationic   agent in the formulation produces a positive

       electrostatic charge, which attracts and captures the negatively charged

       particles. A biocide in the formulation would ordinarily be expected to

       inactivate and   kill the captured bioactive particles. But, to be effective,
       biocidic action requires contact with bioactive particles for a certain time

       period. If the captured particles happen to dislodge from the formulation's

       thin fikn, they would remain active and be inhaled. Even          if they were in
       contact with the biocide for a sufficient time to be inactivate4 the dislodged

       inactivated particles would still be able to be inhaled. Thus the "hold"

       function is critical to usefulness of the invention.

             An analogy would be a mouse trap. If the trap merely atffacts               a

       mouse which mounts the trap to eat the cheese, unless the trap can hold and

       bind the mouse to the trap, the trap would be useless.     If   the formulation   of

       the '802 Patent merely has a cationic       qq*t to    attraet airbome bioactive

       particles and a biocidic agent to inactivate and kill the particles, it would be

       useless unless   it   can hold the particles in place long enough to inactivate


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       RESPONSIVE EXPERT REPORT OF EDWARD A. LEMMO, Ph,D.

       them and to prevent them from entering the respiratory system. The hold

       function is a critical part of the claimed invention.

       3.    The Rolf,Pate+t Application

             The Rolf patent application discusses the use of essential oils applied

       to an adhesive patch placed in the vicinity of the nose to act as a biocidic

       agent against respiratory pathogens. Historically, essential oils have been

       used for centuries. Their use in modem times relates to aromatherapy. The

       literafure includes references for their use      in a variety of     conditions.

       Essential oils are useful   in a variety of applications related to   cosmetics,

       natural products, and household products. They are produced by distillation

       from plant-based sources.

             Rolf discusses the role of essential oils acting against bacteria      and

       viruses. The most commonly used essential oils with antimicrobial action

       are: B-caryophyflene, eugenol, eugenol acetate, carvacrol, linalool, thymol,

       geraniol, geranyl acetate, bicyclogermacrene, cinnamaldehyde, geranial,

       neral, l,8-cineole, methyl chavicol, methyl cinnamate, methyl eugenol,

       camphor, cr-thujone, viridiflorol, limonene, (Z)-ltnalool oxide, cr*pinene, p-

       cymene, (E)-caryophyllene, y'telpinene.

              Some essential oils are effective antimicrobials and have been

       evaluatsd for food incorporation in     vitro. Howevet, actual deployment      is

       rare because much higher concenfiations are required in real foods. Some or
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       all of this lower effectiveness is due to large differences between culture

       medium and foods in: chemistry (especially lipid content), viscosity, and

       duration of inoculatior/storage.

             The limitations associated with the use of essential oils relate to the

       amount or concsntration of the     oil.   Reports in the literature suggest essential

       oils have skin irritating properties when applied, and others suggest more

       severe toxicity profiles, putting the user at risk       for more serious medical

       problems.

             While the patent application suggests a mechanism of biocidic action

       by using these essential oils applied to a patch and placed in the vicinity of

       the nose, thers is no reference to how this invention atfiacts and holds the

       biologic pathogen before entering the respiratory system. Consider the fact

       that essential oils are used       in the production of        perfirmes, room air

       fresheners,   ffid in the nafural products indusay      as aromatherapy products.

       All of these would    be of a similar' function in acting to destroy pathogens

       found in the air.

             The biocidic action is concentration dependent and specific to the type

       of essential oil used. The claims in the Rolf patent application for the use of

       essential oils as a biocidic agent are not related to the '802 Patent because

       there is no discussion of electrostatic forces attracting airborre particles, the

       ability of the fonnulation to hold the airborne particles using adhesion and
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       cohesion concepts,     or inactivation of the particles         using biocidic

       components.

             Furthermore, the patch would not functioil as described by     Rolf. As I

       mentioned in the last section, to be effective, biocidic action requires contact

       with bioactive particles for a certain minimurn time period. If the particles

       are not held   in place by the patch, they would continue to float around,

       remain active, and be inhaled. The only adhesive property of Rolfs patch is

       its ability to adhere to the skin in the region just below the nose. The side   of

       the patch facing the airborne particles has no adhesive properties. The     Rolf

       invention will not work for its intended purpose.

       4.    Commercial Success

             I understand that commercial      success   of a patented product tends to

       show that the patented claims are not obvious provided that the commercial

       sucaess is due solely to the patented   claims. Since the time the'802 patent

       was issued tn ?A12, approximately seven million units of the product based

       on this patent, have been sold in the United Sates and internationally. This

       clearly is a measure sf csmmercial success. When evaluating commercial

       success, a key factor is repeat sales   of a product and the length of time the

       product remains on the market. Having been involved                  in   product

       development    for OTC products and as a             member    of the business
       development team for a major pharmaceutical company OTC division, I had
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       RESPONSIVE EXPERT REPORT OF EDWARD A. LEMMO, Ph.D.

       the opportunity to evaluate technologies and products that the company was

       interested   in licensing &om an inventor. Also, as a product development

       scientist,   I   know the challenges and difficulties to create a unique and

       effective product. Patent protection offers additional support for a product

       to be considered as a success. Since the Trutek products have patent

       protection and have been marketed successfully for ten years, this product

       line stands tall among products in this category. The product has a domestic

       and iotemational presence which demonstrates that     it has been reviewed for

       human use without prescription for the claimed properties established in the

       patent. When marketing in foreign countries, usually the ministry of health

       of these countries reviews the merits of the product claims before it      gets

       approval for marketing the product to the population.

              The commercial success of this product stands on the sales number

       and the lack of adverse events reported by the user. The'802 Patent claims a

       product that electrostatically inhibits harmful airbonoe particles from

       infecting an individual. The particles might be microbes, pollen, allergens,

       or mites that float in the air and are usually inhaled. This product effectively

       prevents that from happening by creating a positive electrostatic charge that

       attracts the particles and holds the particles   in place until a biocide can

       inactivate them and render them harrrless. Trutek does             little or   no

       advertising. The products are either sold online or in retail outlets. The
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       patent number of the '802 Patent is clearly marked for every unit sold in the

       United States. Based on what the'802 Patent claims and what the products

       actually do,   I   conclude that the commercial success of the products is due

       solely to the performance and features of the claimed invention of the '802

       Patent.




       Dated: August 23,2A22


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                               Edward A. Lemmo, Ph.D.
                                     60 Gilroy Street
                             Staten Island, New York 10309
                                     (917) 837-1470
                              Email: edlemmo@gmail.com


     EDUCATION

     Ph.D. Nutrition Science, Rutgers University, New Brunswick, NJ (1979)
     M.S. Nutrition Science, Rutgers University, New Brunswick, NJ (1977)
     B.S. Chemistry, St. Francis College, Brooklyn, NY (1973)


     EXECUTIVE TRAINING COURSES

     Executive Leadership Program, Princeton, NJ
     Time Management Skills, Teaneck, NJ
     Media Communication Skills, New York City, NY


     EMPLOYMENT EXPERIENCE

     2007-Present       Consumer Healthcare Corporate Consultant
                        Self-employed Consultant - Consumer Healthcare

     2005-2007          BioBalance Corporation, New York, NY
                        Vice President, Product Development

                        Person primarily responsible for investigating its probiotic
                        product PROBACTRIX™ to be used for treating pouchitis
                        and other gastrointestinal disorders. Probiotic products are
                        an optional alternative to the probiotic Lactobacillus
                        acidophilus. In charge of all scientific product evaluation
                        conducted at company headquarters.

     1999-2005          Wyeth Consumer Healthcare, Leonia and Madison, NJ
                        Vice President, Product Development

                        Division of American Home Products
                        Formerly Whitehall-Robbins Consumer Healthcare

                        Managed product development for SOLGAR®, and
                        contributed towards CENTRUM®, and CALTRATE®, brands.
                        Responsible role in scientific affairs and new business
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                      development opportunities.         Further, responsible    for
                      evaluation of acquisition of new business entities.

     1992-1999        General Nutrition Centers, Inc., Pittsburg, PA
                      Director, Nutritional Sciences

                      Analyzed safety of amino acid products for presentation to
                      the FDA and FTC and other U.S. government agencies.
                      Evaluated and made recommendations regarding nutritional
                      and homeopathic products. Performed quality assurance
                      activities related to label claims and product safety.
                      Responsible for introduction of the new PRO-
                      PERFORMANCE sports nutrition product line into the GNC
                      retail marketplace.

                      In 1993, for Quigley Corporation, I evaluated the safety and
                      efficacy of Cold-EEZE® zinc lozenges to be used to shorten
                      a common cold as a possible line of homeopathic products
                      exclusively marketed by GNC.

     1989-1992        Pall Biomedical Products, Glen Cove, NY
                      Marketing Manager

                      Responsible for marketing activities of Intravenous filtration
                      devices, and Heat and Moisture exchange respiratory
                      products. Wrote all scientific evaluation documents related
                      to Heat and Moisture Exchange respiratory product for
                      presentation to anesthesiologists regarding prevention of
                      injury from patients breathing cold dry gas during surgery.
                      Developed scientific presentations, videos, and product
                      marketing material for use by healthcare professionals.

     1984-1989        ICN Pharmaceuticals, Costa Mesa, CA
                      Director of Nutritional Technology

                      Faraday Laboratories Division

                      Product development of nutritional supplements for use by
                      chiropractic and alternative health practitioners throughout
                      the United States and Canada. Product brands included
                      Nutridyn® and Sivad Bioresearch®. Responsible for new
                      product development, wrote technical literature, and
                      prepared and delivered scientific educational presentations
                      to practitioners at chiropractic colleges and chiropractic
                      meetings.




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     1976-1977        Pharmacia Laboratories, Piscataway, NJ
                      Clinical Trials Coordinator

                      Assisted veterinarian in analysis of equine blood samples.
                      Performed evaluation analysis of HEALON® products
                      comprising hyaluronic acid, and their effect on tissues.

                      CORPORATE CONSULTING EXPERIENCE

     2011             Matrixx Initiatives, Inc., Princeton, NJ
                      Scientific Affairs Consultant

                      Performed research associated with ZICAM® oral zinc
                      product. Provided guidance for coordinating research trials.
                      Managed human efficacy clinical trials.


     1998-1999        Church & Dwight, Princeton, NJ
                      Scientific Advisor

                      Evaluated consumer healthcare products. Explored and
                      determined market for magnesium based organo-metalic
                      agents for use in dietary supplements.

     1998-1999        IVC Industries, Freehold, NJ

                      IVC is a contract manufacturer of generic vitamins.
                      Responsible for new product development. Assisted the
                      marketing staff with product label claims.

     1996             Nutrition 21, Purchase, NY

                      Company is a supplier to GNC. Performed consulting work
                      regarding their products.

     1996             Nutramerica, Lincoln Park, NJ

                      Technical advisor for the development of a dietary
                      supplement product line.




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     CORPORATE CONSULTING EXPERIENCE (continued)

     1996             American Vitamin, Ramsey, NJ

                      Company is a contract manufacturer. Performed new
                      product development and assistance with evaluation of raw
                      materials from India.


     COLLEGE TEACHING EXPERIENCE

     2013-2018        Touro College, New York City, NY

                      Taught in nursing school.Courses included pathophysiology,
                      genetics, anatomy and physiology and tutored microbiology

     2008-2014        University of Medicine & Dentistry of New Jersey
                      (UMDNJ), Newark, NJ

                      Taught innutrition program. Courses includedgeneral
                      chemistry, anatomy and physiology, biochemistry, and
                      microbiology.

     1977 and         New York University, New York, NY

     2000-2003        Taught in graduate nutrition program, vitamin and mineral
                      metabolism

     2011-2012        Cedar Crest College, Allentown, PA

                      Taught courses in nutritional biochemistry and metabolism.

     1984-1989        University of New Haven, West Haven, CT

                      Taught graduate level course in vitamin and mineral
     nutrition.

     1974-1984        Brooklyn College, CUNY, Brooklyn, NY
                      Assistant Professor

                      Taught nutrition courses to pre-medical and nutrition
                      students.

     1973-1977        Rutgers University, Piscataway, NJ

                      Taught general biology lab and mineral metabolism.



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                      IN THE UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF MICHIGAN

                                 SOUTHERN DIVISION



               TRUTEK CORP.,
                  Plaintiff,
                                             CIVIL ACTION No. 2:21-cv-10312-SJM-RSW
                        v.
         BlueWillow Biologics, Inc.
      ROBIN ROE 1 through 10, gender
      neutral fictitious names, and ABC
       CORPORATION 1 through 10
               (fictitious names).
                  Defendants.




                             CERTIFICATE OF SERVICE

           Undersigned hereby states that on August 15, 2022, the attorneys for

     Plaintiff caused the foregoing document to be served upon all counsel of

     record, via electronic service.
